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 8                   IN THE UNITED STATES DISTRICT COURT

 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,     )         CR NO. S-08-318 LKK
                                   )
12             Plaintiff,          )         ORDER SETTING TRIAL DATE
                                   )         AND EXCLUDING TIME
13        v.                       )
                                   )
14   ELIZABETH CARRION,            )
     ANGELITO EVANGELISTA,         )
15   ARTHUR EVANGELISTA,           )
     ROMMEL ANTOLIN,               )
16                                 )
               Defendants.         )
17   ______________________________)

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          On June 29, 2010, in the courtroom of the Honorable Lawrence
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     K. Karlton, United States District Judge, this matter came on for
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     status conference.    Russell L. Carlberg, Assistant United States
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     Attorney, appeared for the United States. Bruce L. Locke, Esq.,
22
     appeared on behalf of defendant Elizabeth Carrion.         Dwight M.
23
     Samuel, Esq., appeared on behalf of defendant Angelito
24
     Evangelista.   Scott Cameron, Esq., appeared for defendant Arthur
25
     Evangelista.   Carl Larson, Esq., appeared for defendant Rommel
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     Antolin.
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          The Court ordered both the trial date of September 14, 2010
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 1   and the trial confirmation hearing of August 31, 2010, vacated.

 2   That is because a second superseding indictment was returned in

 3   this case on May 6, 2010, adding new charges and the following

 4   new defendants: Arthur Evangelista and Rommel Antolin.             The case

 5   was set for status on October 5, 2010.

 6        The government has provided in electronic format a total of

 7   approximately 30,000 pages of discovery.           Defense counsel

 8   represented that additional time was needed to review these

 9   documents, and to investigate and to prepare the case for trial.

10   Defense counsel also represented that the case was complex due to

11   the nature of the mortgage trqansactions.           Accordingly, defense

12   counsel moved to waive time under the Speedy Trial Act.

13        The Court finds that the interests of justice outweigh the

14   best interests of the public and the defendants in a speedy

15   trial.     18 U.S.C. § 3161(h)(7)(A).       Time, therefore, will be

16   excluded as to all defendants from June 29, 2010, through and

17   including October 5, 2010, on the basis of (1) reasonable

18   preparation of defense counsel taking into account the exercise

19   of due diligence, 18 U.S.C. § 3161 (h)(7)(B)(iv) (local code T-

20   4), and (2) case complexity, 18 U.S.C. § 3161 (h)(7)(B)(ii)

21   (local code T-2).

22   IT IS SO ORDERED.

23   Dated: July 14, 2010

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